Case 1:24-cv-06208-JMF-SN Document 7 Filed 10/21/24 Pagelof1

USDC SDNY

DOCUMENT P
UNITED STATES DISTRICT COURT ELECTRONICALLY FILED |}

SOUTHERN DISTRICT OF NEW YORK DOC #:
X DATE FILED:__ 10/21/2024

MICHAEL SAUNDERS, on behalf of himself and
all others similarly situated,

Plaintiff, 24-CV-06208 (JMF)(SN)
-against- ORDER
ROYAL LEAF CLUB DISPENSARY CORP.,
Defendant.

X

SARAH NETBURN, United States Magistrate Judge:

On August 16, 2024, the plaintiff filed the Complaint. As of October 21, 2024, the
defendant has not made an appearance or otherwise answered. Furthermore, there is no proof of
service on the docket. The plaintiff is directed to file proof of service no later than November 18,
2024.

SO ORDERED.

pl~ Mr—

SARAH NETBURN
United States Magistrate Judge

DATED: New York, New York
October 21, 2024
